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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

DAVID MATSON, BARBARA MATSON,                 §      No. 5:19-CV-717-RBF
YOLANDA GARRET, INDIVIDUALLY                  §
AND ON BEHLF OF ALL OTHERS                    §
SIMILARLY SITUATED.;                          §
                                              §
      Plaintiffs,                             §
                                              §
vs.                                           §
                                              §
NIBCO INC.,                                   §
                                              §
      Defendant.                              §
                                              §
_______________________________               §
                                              §
JANICE WILLIAMS, ANTONIO                      §
RODRIGUEZ, JR., PRINCESS DIANE                §
PIPPEN, DIANE ROBINSON, MAYA                  §
ROBINSON,                                     §
                                              §      No. 5:20-CV-48-JKP-RBF
      Plaintiffs,                             §
                                              §
vs.                                           §
                                              §
NIBCO, INC.,                                  §
                                              §
     Defendant.                               §
_______________________________               §


                                           ORDER

       Before the Court is the Motion for Sanctions and Curative Action filed by Defendant

NIBCO, Inc in both of the above-referenced cases. See Matson, 5-19-cv-717, Dkt. No. 72;

Williams, 5-20-cv-48-JKP-RBF, Dkt. No. 38. The parties in Matson have consented to U.S.

Magistrate Judge jurisdiction, see 28 U.S.C. § 636(c); Dkt. Nos. 56 & 58, and the Williams case

has been referred for resolution of all nondispositive pretrial purposes pursuant to Rules CV-72



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and 1 of Appendix C of the Local Rules of the United States District Court for the Western

District of Texas. See Dkt. No. 4.1

       Pursuant to Federal Rule of Civil Procedure 42(a), the Court finds it appropriate to

consolidate these cases solely for purposes of disposition of NIBCO’s Motion for Sanctions and

Curative Action, including a hearing on the Motion. Both cases are pending in this Court and

involve both a common defendant and overlapping issues. Specifically, NIBCO’s Motion takes

issue with conduct by counsel in the Williams case to allegedly solicit opt-outs from the Matson

class, which NIBCO contends has adversely (and, in NIBCO’s opinion, improperly) affected the

preliminarily approved Matson class settlement. Moreover, there is a substantial risk of

inconsistent adjudications if the cases aren’t consolidated for this limited purpose, and

consolidation will promote judicial economy. Finally, there is no risk that consolidation will

cause any of the parties to suffer any prejudice, notwithstanding the fact that the cases are in

different stages in litigation. See Shafer v. Army & Air Force Exch. Serv., 376 F.3d 386, 394 (5th

Cir. 2004) (recognizing that consolidation is permitted “as a matter of convenience and economy

in administration”) (quotations omitted); Gabriel v. OneWest Bank FSB, No. CIV.A. H-11-3356,

2012 WL 1158732, at *1 (S.D. Tex. Apr. 5, 2012) (discussing factors a court should consider

when analyzing the appropriateness of consolidation). Consolidation, however, “‘does not merge

the suits into a single cause, or change the rights of the parties.’” In re Excel Corp., 106 F.3d

1197, 1201 (5th Cir. 1997) (quoting Johnson v. Manhattan Railway Co., 289 U.S. 479, 496-97

(1933)).

       IT IS THEREFORE ORDERED that NIBCO’s Motion for Sanctions and Curative

Action, see Matson, 5-19-cv-717, Dkt. No. 72; Williams, 5-20-cv-48-JKP-RBF, Dkt. No. 38, is


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 Consolidation is a nondispositive issue. See Tex. Dep’t of Transp. v. Canal Barge Co., Inc., No.
4:20-CV-00868, 2020 WL 4335787, at *1 n.1 (S.D. Tex. Jul. 28, 2020).
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set for a consolidated hearing on April 21, 2021 at 9:30 am. The hearing will be held by video

conference using the Zoom video platform. As the date for the hearing approaches, the Court

will send, by separate communication, instructions for participating in the video conference.

       IT IS SO ORDERED.

       SIGNED this 16th day of April, 2021.




                                             RICHARD B. FARRER
                                             UNITED STATES MAGISTRATE JUDGE




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